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              Officer upon commencement of supervision. Any changes or additions are to be disclosed to the Probation
              Officer prior to the first use. Computers and computer-related devices include personal computers, personal
              data assistants (PDAs), internet appliances, electronic games, cellular telephones, and digital storage media,
              as well as their peripheral equipment, that can access, or can be modified to access, the internet, electronic
              bulletin boards, and other computers.

         7. All computers, computer-related devices, and their peripheral equipment, used by the defendant shall be
            subject to search and seizure. This shall not apply to items used at the employment's site, which are maintained
            and monitored by the employer.

         8. The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The
            defendant shall pay the cost of the Computer Monitoring Program, in an amount not to exceed $32 per month
            per device connected to the internet.

              Sex Offender Conditions

              Registration

         9. Within three (3) days of release from prison, the defendant shall register as a sex offender, and keep the
            registration current, in each jurisdiction where the defendant resides, is employed and is a student, pursuant
            to the registration procedures that have been established in each jurisdiction. When registering for the first
            time, the defendant shall also register in the jurisdiction in which the conviction occurred if different from the
            defendant's jurisdiction of residence. The defendant shall provide proof of registration to the Probation Officer
            within 48 hours of registration.


              Counseling

         10. The defendant shall participate in a psychological counseling or psychiatric treatment or a sex offender
             treatment program, or any combination thereof as approved and directed by the Probation Officer. The
             defendant shall abide by all rules, requirements, and conditions of such program, including submission to risk
             assessment evaluations and physiological testing, such as polygraph and Abel testing. The defendant retains
             the right to invoke the Fifth Amendment. The Court authorizes the Probation Officer to disclose the
             Presentence Report, and any previous mental health evaluations or reports, to the treatment provider. The
             treatment provider may provide information (excluding the Presentence report), to State or local social service
             agencies (such as the State of California, Department of Social Service), for the purpose of the client's
             rehabilitation.

         11. As directed by the Probation Officer, the defendant shall pay all or part of the costs of psychological
             counseling or psychiatric treatment, or a sex offender treatment program, or any combination thereof to the
             aftercare contractor during the period of community supervision. The defendant shall provide payment and
             proof of payment as directed by the Probation Officer. If the defendant has no ability to pay, no payment
             shall be required.



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              Access to Materials

          12. The defendant shall not view or possess any materials, including pictures, photographs, books, writings,
              drawings, videos, or video games, depicting and/or describing child pornography, as defined in 18 U.S.C.
              §2256(8), or sexually explicit conduct depicting minors, as defined at 18 U.S.C. §2256(2). The defendant
              shall not possess or view any materials such as videos, magazines, photographs, computer images or other
              matter that depicts "actual sexually explicit conduct" involving adults as defined by 18 U.S.C. § 2257 (h) (1). 1

          13. The defendant shall not own, use or have access to the services of any commercial mail-receiving agency, nor
              shall the defendant open or maintain a post office box, without the prior written approval of the Probation
              Officer.

              Contact with Others

          14. The defendant shall not associate or have verbal, written, telephonic, or electronic communication with any
              person under the age of 18, except: (a) in the presence of the parent or legal guardian of said minor; and (b)
              on the condition that the defendant notify said parent or legal guardian of the defendant's conviction in the
              instant offense/prior offense. This provision does not encompass persons under the age of 18, such as waiters,
              cashiers, ticket vendors, etc., whom the defendant must interact with in order to obtain ordinary and usual
              commercial services.

          15. The defendant shall not frequent, enter, or loiter, within 100 feet of school yards, parks, public swimming
              pools, playgrounds, youth centers, video arcade facilities, amusement and theme parks, or other places
              primarily used by persons under the age of 18, without the prior written authorization of the probation officer.

          16. The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a business
              or organization that causes the defendant to regularly contact persons under the age of 18.

          17. Defendant shall not affiliate with, own, control, or be employed in any capacity by a business whose principal
              product is the production or selling of materials depicting or describing "sexually explicit conduct,” as defined
              at 18 U.S.C. § 2256(2).

          18. Defendant shall not own, use or have access to the services of any commercial mail-receiving agency, nor
              shall defendant open or maintain a post office box, without the prior written approval of the Probation Officer.

              Employment

          19. The defendant's employment shall be approved by the Probation Officer, and any change in employment must
              be pre-approved by the Probation Officer. The defendant shall submit the name and address of the proposed
              employer to the Probation Officer at least ten (10) days prior to any scheduled change.


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 This condition does not prohibit the defendant from possessing materials solely because they are necessary to, and used for, a collateral attack,
nor does it prohibit the defendant from possessing materials prepared and used for the purposes of the defendant's Court-mandated sex offender
treatment, when the defendant's treatment provider or the probation officer has approved of the defendant's possession of the material in advance.

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              Residence

         20. Defendant shall not reside within direct view of school yards, parks, public swimming pools, playgrounds,
             youth centers, video arcade facilities, or other places primarily used by persons under the age of 18.
             Defendant's residence shall be approved by the Probation Officer, and any change in residence must be pre-
             approved by the Probation Officer. Defendant shall submit the address of the proposed residence to the
             Probation Officer at least ten days before any scheduled move.

              Search

         21. The defendant shall submit to a search, at any time, with or without warrant, and by any law enforcement or
             probation officer, of his person and any property, house, residence, vehicle, papers, computers, cell phones,
             other electronic communication or data storage devices or media, email accounts, social media accounts, cloud
             storage accounts, effects and other areas under the defendant's control, upon reasonable suspicion concerning
             a violation of a condition of supervision or unlawful conduct by the defendant, or by any probation officer in
             the lawful discharge of the officer's supervision functions.

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately.
Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

It is ordered that the defendant shall pay restitution in the total amount of $31,245 pursuant to 18 U.S.C. § 3663(a)(3).

The amount of restitution ordered shall be paid as follows:

         Victim                                Amount

         The Department of Housing             $31,245.00
         and Urban Development

Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to
the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after
release from custody, nominal monthly payments of at least 10% of defendant's gross monthly income but not less than
$20, whichever is greater, shall be made during the period of supervised release and shall begin 90 days after the
commencement of supervision. Nominal restitution payments are ordered as the Court finds that the defendant's economic
circumstances do not allow for either immediate or future payment of the amount ordered.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have
the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §
3612(g).

The defendant shall comply with Second Amended General Order No. 20-04.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is
unable to pay and is not likely to become able to pay any fine in addition to restitution.


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The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide all
necessary treatment.

The Court advised the defendant of the right to appeal this judgment.

SENTENCING FACTORS: The sentence is based on the factors set forth in 18 U.S.C. §3553, including the applicable
sentencing range set forth in the guidelines, as more particularly reflected in the court reporter’s transcript.


 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            November 1, 2021
            Date                                                  U. S. District Judge DALE S. FISCHER

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            November 1, 2021                                By    Renee A. Fisher
            Filed Date                                            Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                             STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                             While the defendant is on probation or supervised release pursuant to this judgment:




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 1.    The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a               any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                    family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
       court or probation officer;                                                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change            ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                 13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable              defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before          vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                 the most effective manner.
       change;




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      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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